                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:96-CR-134-3-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )              MEMORANDUM
 CURTIS SIFFORD,                                   )               OF DECISION
                                                   )
                Defendant.                         )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant is eligible for a sentence reduction to a period of confinement equal to151 months

(the low end of the revised guideline range) for the reasons set forth in the Supplement to the

Presentence Report.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     The full record before the Court reflects a defendant who’s prison disciplinary record



       Case 3:96-cr-00134-FDW              Document 298           Filed 09/17/08         Page 1 of 2
indicates that he has not yet learned to respect the law. Furthermore, three citations for using or

possessing drugs or drug paraphernalia while incarcerated (including one just last year) shows that

she has maintained ties to underground suppliers of controlled substances.

4.     Upon consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the possible

threat to public safety posed by the early release of a person with this defendant’s criminal

predispositions, and this defendant’s post-sentencing conduct, the court finds:

       (a)     That the original sentence of 188 months is adequate, but no greater than necessary,

               to accomplish the objectives of sentencing, while a reduction would frustrate those

               objectives;1 and

       (b)     That this sentence is within the revised guideline range.

       An appropriate Order shall issue separately.

                                                 Signed: September 17, 2008




       1
        The Court notes that it is not required under Fourth Circuit case law to undertake an
exhaustive analysis of all of the § 3553(a) factors in this Order. See United States v. Legree, 205
F.3d 724, 728-29 (4th Cir. 2000).

                                                -2-


      Case 3:96-cr-00134-FDW           Document 298        Filed 09/17/08         Page 2 of 2
